             Case 4:17-cr-00319-JM Document 43 Filed 11/14/18 Page 1 of 2


                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                   CASE NO. 4:17cr00319 JM

MORGAN STEPHEN POOLE (1)
NATHANIEL BURROUGHS (2)

                                               ORDER

          Pending before the Court is Defendant Morgan Poole’s motion for continuance of his

jury trial scheduled for December 10, 2018 (Docket No. 42).

          The Court has fully considered the motion for continuance and finds that the interests of

justice served by granting the continuance outweigh the best interests of the public and the

defendant for a speedy trial in that the issues are such that to deny the motion would deny

counsel for the defendant the reasonable time necessary for effective preparation for trial and

inherent development of any and all proper defenses which might be averred in the defendant's

behalf.

          No severance has been granted on behalf of any defendant. Because they are jointly

indicted as co-conspirators in the same conspiracy, their trial date should be conducted on the

same date.

          IT IS THEREFORE ORDERED that Defendant Morgan Poole’s motion for continuance

(Docket No. 42) be, and is hereby, GRANTED. Therefore, this matter is rescheduled for trial to a

jury to begin at 9:15 a.m., on MONDAY, APRIL 29, 2019, in Courtroom #4- A, Richard

Sheppard Arnold United States Courthouse, Little Rock, Arkansas. Counsel are to be present

thirty minutes prior to trial. Jury instructions should be electronically submitted to the Court by

April 19, 2019, to jmchambers@ared.uscourts.gov.
          Case 4:17-cr-00319-JM Document 43 Filed 11/14/18 Page 2 of 2


       IT IS FURTHER ORDERED that the delay occasioned by this continuance shall be

excludable under the provisions of the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) as to

Defendant Morgan Poole and 18 U.S.C. § 3161(h)(6) as to Nathaniel Burroughs.

       IT IS SO ORDERED this 14th day of November, 2018.



                                                   JAMES M. MOODY JR.
                                                   UNITED STATES DISTRICT JUDGE
